             Case 4:20-cv-00347-DPM Document 21 Filed 02/25/22 Page 1 of 5




                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

KIRBY WARD                                                                          PLAINTIFF

v.                                      4:20-cv-347-DPM

LUCAS EMBERTON and GENE EARNHART                                               DEFENDANTS

                    AMENDED FINAL SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 16(b), the Court orders:

     !        Deadline to request any
              pleading amendment....................................................... PASSED

     !        Discovery cutoff .......................................................... 1 April 2022

     !        Dispositive and Daubert motions due1 ...................... 2 May 2022

     !        Joint status report, including
              settlement conference request, due ........................... 2 May 2022

     !        Deposition designations exchanged2........................ 13 July 2022

     !        Motions in limine due ............................................ 3 August 2022

     !        Local Rule 26.2 pre-trial
              disclosure sheets due ........................................ 2 September 2022

     !        Joint report on deposition designation
              disputes (if any) ................................................. 2 September 2022

         1    Note and follow the procedure specified infra.
         2    Note and follow the procedure specified infra.
       Case 4:20-cv-00347-DPM Document 21 Filed 02/25/22 Page 2 of 5




  !     Trial briefs due .................................................. 2 September 2022

  !     Jury Instructions (agreed or disputed) due ... 2 September 2022

  !     Jury Trial, Little Rock Courtroom 1A .................. 3 October 2022

  !     Protective Orders. Before filing a motion for approval,
        counsel should email a draft order in WordPerfect or Word to
        chambers for review. Alert the law clerk on the case to the
        draft=s submission. Avoid legalese. Short, plain orders are
        better than long, complicated ones. Incorporate Fed. R. Civ.
        P. 5.2's mandate for redaction if practicable before any filing
        under seal. The order should remain in effect no longer than
        one year after litigation ends, not in perpetuity. Incorporate
        the procedure for discovery disputes, see infra, to cover
        disputes about whether a document is confidential.

  !     Discovery Disputes. Counsel should confer in good faith in
        person before bringing any discovery dispute to the Court. Do
        not file motions to compel. Do not file a motion to quash or
        for protective order unless there is an emergency. If the
        parties reach a discovery impasse, they should file a joint report
        explaining the disagreement.        File this paper under the
        CM/ECF event called AJoint Report of Discovery Dispute@.
        Your joint report must not exceed ten pages, excluding the style
        and signature block. Each side gets five pages. Do not file a
        motion asking for more pages. Use double spacing and avoid
        footnotes.    Attach documents (such as disputed written
        discovery or responses) as needed. Redact any attachments
        as required by Federal Rule of Civil Procedure 5.2 to protect
        confidential information. File the joint report sufficiently
        before the discovery cutoff so that the dispute can be resolved,
        and any additional discovery completed, without undermining
        other pretrial deadlines. The Court will rule or schedule a
        hearing. Alert the law clerk on the case to the joint report=s

November 2019                              -2-
       Case 4:20-cv-00347-DPM Document 21 Filed 02/25/22 Page 3 of 5



        filing. If a dispute arises during a deposition, call chambers
        so the Judge can rule during the deposition.

  !     Summary Judgment. Motions must comply with Federal
        Rule of Civil Procedure 56 and Local Rules 7.2 and 56.1. Make
        the complete condensed transcript of any deposition cited an
        exhibit. Limit your Rule 56.1 statements to material facts.
        Include a specific supporting record citation for each fact
        asserted. Responding statements of fact must repeat the
        statement being responded toClike a discovery response.
        Include a specific supporting record citation for each fact
        disputed or asserted in the responding statement. A party=s
        substantial failure to follow these procedures will result in the
        party having to correct its filing. If the summary judgment
        papers are voluminous, the Court would appreciate the parties
        sending a courtesy paper copy to chambers. Any movant
        may reply within seven calendar days of a response to a motion
        for summary judgment.

  !     Deposition Designations. The Court strongly encourages
        the parties to use live testimony, rather than testimony by
        deposition, at trial. If the parties nonetheless need to use
        deposition testimony, then they must use the following
        procedure.      Thirty days before Local Rule 26.2 pre-trial
        disclosure sheets are due, the parties should exchange
        deposition designations. As soon as practicable thereafter,
        counsel must meet and confer in person. They should try
        hard to agree on what deposition testimony will be presented
        at trial and resolve any objections. If any dispute or objection
        remains unresolved, then the parties should file a joint report
        explaining the dispute on the same date pre-trial disclosure
        sheets are due. The parties must certify that they met and
        conferred in person but failed to resolve the disputed issue.
        The parties should also deliver to chambers a paper copy of the
        entire transcript of any deposition involved in any dispute.


November 2019                       -3-
       Case 4:20-cv-00347-DPM Document 21 Filed 02/25/22 Page 4 of 5



  !     Jury Instructions. The Court will use its own introductory
        and general instructions.        The parties should submit
        proposed instructions only on elements and anything unusual
        and proposed verdict forms. The Court strongly encourages
        the parties to confer and agree on these instructions and forms.
        The parties should also submit an agreed proposed statement
        of the case. Note authority on the bottom of each proposed
        instruction.    Please explain the reason for any disputed
        instructions in your submission. Send agreed and disputed
        instructions      in     WordPerfect        or     Word       to
        dpmchambers@ared.uscourts.gov. Alert the law clerk on the
        case that you have submitted the instructions.

  !     Exhibits. The Court strongly encourages the parties to agree
        on as many of the exhibits as possible. Deliver the original
        exhibits, and one copy, in three-ring binders to the Courtroom
        Deputy on the Wednesday before trial starts. Please also
        include an electronic copy, plus (on the Court’s forms) the
        exhibit and witness lists.

  !     Courtroom Technology.       Before any pretrial, and as soon as
        practicable before any hearing, counsel should contact the
        courtroom deputy about technology needs.              She will
        coordinate with the Court’s IT department. Any plan for use
        of non-Court technology must be approved by the IT
        department.

  !     Pre-Trial Hearing. It will be set by separate notice. We will
        address motions in limine, deposition excerpts for use at trial,
        jury instructions, trial architecture, exhibits, and voir dire.

  !     Conflicts Of Interest. Counsel must check the Court's recusal
        list on file in the U.S. District Clerk's Office to determine
        whether there is any conflict that might require recusal. If any
        party is a subsidiary or affiliate of any company in which the
        Court has a financial interest, counsel should bring that fact to

November 2019                       -4-
       Case 4:20-cv-00347-DPM Document 21 Filed 02/25/22 Page 5 of 5



        the Court's attention immediately.

     Please communicate with Sherri Black, Courtroom Deputy, by e-
mail at sherri_black@ared.uscourts.gov to check your position on the
calendar as the trial date approaches. In the event of settlement,
advise Sherri Black immediately.

                               AT THE DIRECTION OF THE COURT
                               JAMES W. McCORMACK, CLERK

                               By: Sherri Black
                                   Courtroom Deputy to
                                   Judge D. P. Marshall Jr.

                                     25 February 2022




November 2019                       -5-
